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                    UNITED STATES DISTRICT COURT

                       DISTRICT OF CONNECTICUT



JOHN DOE,                                     CIVIL ACTION NO.:

                       Plaintiff,
      vs.

YALE UNIVERSITY, MARVIN
CHUN, JOHN MAYES, JORDAN
PILANT, MARIA PIÑANGO, MARK
SOLOMON, JORDON WHITE,
ANGELA GLEASON,                               May 2, 2019

                       Defendants.




                         SUPPLEMENT TO MOTION
      The Court requested documents supporting the Memorandum of Law in
support of Plaintiff’s Motion for a Temporary Restraining Order and a
Preliminary Injunction, and the exhibits thereto. Plaintiff submits the following
UNSEALED documents:
      1. Yale University - University Wide Council (UWC) Procedures dated
            October 26, 2015;
      2. Department of Education September 22, 2017 Dear Colleague letter
            (Website description, Actual Letter, Q&A with reference to
            “Question 8” (Complaint paragraph 161).
Plaintiff submits the following SEALED documents:
      3. Unredacted version UWC Fact Finder’s Report;

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         4. Unredacted version of UWC Panel Report.




Dated at New Haven, Connecticut this 2nd day of May, 2019.




                                                                THE PLAINTIFF
                                                                /s/ Jonathan J. Einhorn
                                                                JONATHAN J. EINHORN
                                                                129 WHITNEY A VENUE
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                                                                /s/ Jorge I. Hernandez
                                                                JORGE I. HERNANDEZ, Esq.
                                                                823 ANCHORAGE PLACE
                                                                CHULA VISTA, CA 91914
                                                                (pro hac vice admission pending)
                                                                Jorge@JIHLAW.com
                                                                619-475-6677

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                                                                               Motion TRO and Preliminary Injunction
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                              CERTIFICATION

      I hereby certify that, on May 2, 2019, a copy of the foregoing

Supplement to Motion was filed electronically and served by mail on anyone

unable to accept electronic filing. Notice of this filing will be sent by e-mail to

all parties by operation of the court’s electronic filing system or by mail to

anyone unable to accept electronic filing as indicated on the Notice of

Electronic Filing. Parties may access this filing through the court’s CM/ECF

System.
                                              /s/ Jorge I. Hernandez

                                              Jorge I. Hernandez, Esq.




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                                                         Motion TRO and Preliminary Injunction
